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                        No. 21-55757
____________________________________________________________

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT
____________________________________________________________

  LYDIA OLSON; MIGUEL PEREZ; POSTMATES, INC., (Successor
         Postmates LLC); UBER TECHNOLOGIES, INC.,
                     Plaintiffs – Appellants,

                                    v.

     STATE OF CALIFORNIA; ROB BONTA, in his capacity as
             Attorney General of the State of California,
                      Defendants – Appellees.
____________________________________________________________

           On Appeal from the United States District Court
                for the Central District of California
               Case No. 2:19-cv-10956-DMG-RAO
                      Honorable Dolly M. Gee
____________________________________________________________

 AMICI CURIAE BRIEF OF WORKER RIGHTS ORGANIZATIONS
         IN SUPPORT OF APPELLEES’ PETITION FOR
        PANEL REHEARING OR REHEARING EN BANC
_____________________________________________________________


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                         CORPORATE DISCLOSURE

      Pursuant to Federal Rule of Appellate Procedure 26.1, amici curiae disclose

that none of amici has any parent corporation and no publicly held corporation owns

10% or more of their stock.




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                          STATEMENT OF INTEREST

      Amici curiae are national and California-based organizations that work to

advance the rights of workers, particularly app-based workers, through organizing,

litigation, and policy advocacy.1 Many amici advocated for the passage of Assembly

Bill 5 (“AB 5”), and several have been involved in both prompting enforcement

efforts as well as ongoing defense of the law through direct and ancillary cases,

including challenges to Proposition 22’s undermining of AB 5.

      Amici are deeply familiar with the harmful impact of worker misclassification

on wages and protections, and have fought against misclassification because the

unlawful practice enables companies to pass social and other economic burdens onto

workers as well as state and local governments. Amici have extensive experience

advocating on behalf of low-wage workers, women, people of color, and

immigrants, and we have seen the extensive exploitation that comes from

misclassification in the workplace.

      Amici have a strong interest in this case because we regularly advocate for

legislative and policy ends that are directed at particular sectors of the economy and

routinely focused on a small set of bad actors. The Panel’s decision threatens the


1
  All parties have consented to the filing of this brief. No counsel for a party authored
this brief in whole or in part, and no party or counsel for a party made a monetary
contribution intended to fund its preparation or submission. No person other than
Amici or Amici’s counsel made a monetary contribution to the preparation or
submission of this brief. A list of all Amici is available at Appendix A.

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ability of state and local governments to enact incremental legislation, target efforts

at particular bad actors, and focus their attention and resources without fear that they

will be accused of irrational animus.

                          SUMMARY OF ARGUMENT

      The Panel’s decision conflicts with well-established law and must be

overturned. As California effectively explained in its opening brief, any conclusion

that equal protection principles bar legislators from regulating app-based ride-hail

and delivery companies plainly conflicts with controlling precedent. Amici write

separately to emphasize two core points. First, rather than reflecting irrational,

animus-driven line-drawing, AB 5 focused principally on regulating sectors where

misclassification was growing, and workers were especially exploited. The

Legislature responded directly to specific information and direct advocacy from

workers who shared their experiences and concerns. Second, the Panel’s acceptance

of plaintiffs’ assertions that they are the vulnerable and exploited group is absurd.

App-based companies, including Uber, have successfully used their economic power

to secure favorable regulations, avoid legal liability, and make it more difficult for

workers to appeal to the political process or the courts. They are not the types of

interest meant to be protected from irrational animus (even if it existed here).

      Allowed to stand, the Panel decision contorts equal protection law to shield

powerful corporations from needed oversight, silence elected officials from publicly


                                           2
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sharing their legislative aims, and punish workers for their successful political

advocacy. Amici urge this Court to grant rehearing or rehearing en banc and affirm

dismissal of plaintiffs’ equal protection claims.

                                     ARGUMENT

    I.     AB 5 DIRECTLY ADVANCES THE LEGISLATURE’S PURPOSE
           TO ADDRESS THE HARMFUL MISCLASSIFICATION OF LOW-
           WAGE WORKERS AND THE PANEL’S DECISION DIRECTLY
           CONFLICTS WITH PRIOR CASES

         The Panel incorrectly concluded that plaintiffs had adequately alleged a

violation of equal protection because the exemptions to AB 5 were “starkly

inconsistent with the bill’s stated purpose.” Opn. 24. We join California’s arguments

that the Panel’s analysis is a gross departure from the Court’s well-established

approach to rational basis review. Pet. 12–17. Plaintiffs’ burden is to negate “any

conceivable basis which might support” a legislative classification, FCC v. Beach

Communications, Inc., 508 U.S. 307, 315 (1993) (citation omitted), a far greater

burden than calling into question the legislature’s sincerity, and not one met here.

         Even if inconsistency was the proper litmus for irrationality, AB 5 as amended

directly advances the legislature’s stated goal to “ensure [that] workers who are

currently being exploited as independent contractors instead of employees have the

basic rights and protections they deserve.” Opn. 24 (quoting AB 5 § 1(e)). In

regulating app-based transportation, including app-based ride hail and delivery, the

legislature addressed the area where (1) independent contracting is growing; and (2)

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workers are particularly at risk of misclassification because of low incomes, marked

power imbalances, and technology-driven management.

          A.    App-Based Transportation Is The Only Area In Which
                Independent Contracting Is Growing

      The legislature plausibly included app-based ride-hail and delivery companies

under AB 5, because app-based transportation is the sector in which there has been

rapid growth in independent contractor arrangements, even as overall rates of self-

employment remain relatively constant.2 See Am. Soc’y of Journalists & Authors v.

Bonta (ASJA), 15 F.4th 954, 965 (9th Cir. 2021), cert. denied, 142 S. Ct. 2870 (2022)

(concluding that both historical patterns of classification and potential prevalence of

misclassification were legitimate bases for AB 5’s line-drawing). California-specific

research has shown that independent contracting nearly doubled in the transportation

sector from 2014 to 2016 even as the overall use of independent contractor

arrangements remained the same.3 Another study of nationwide tax data found that

app-based work “is the only type of contract-based freelance work becoming more


2
  Andrew Garin, et al., New Gig Work or Changes in Reporting? Understanding
Self-Employment Trends in Tax Data 2 (Becker Friedman Inst. Working Paper No.
2022-67) (May 2022), https://perma.cc/B5KW-MPE7. While “[t]he State is not
compelled to verify logical assumptions with statistical evidence,” Hughes v.
Alexandria Scrap Corp., 426 U.S. 794, 812 (1976), the statistical evidence lends
support that sudden growth in app-based ride-hail and delivery caused a unique shift
in worker classification practices.
3
  Annette Bernhardt et al., Independent Contracting in California: An Analysis of
Trends and Characteristics Using Tax Data 4, UC Berkeley Lab. Ctr. (2022),
https://perma.cc/83H8-WT2N.

                                          4
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prevalent over time” and that “nearly all” of this work is on ride-hail and delivery

apps.4 Thus, the legislature’s regulation of app-based transportation companies

plausibly reflected legislators’ desire to ensure that AB 5 applied to the sector of the

economy in which independent contracting arrangements were a disruptive new

trend (rather than long-established practice), sparking distinct concerns over

misclassification. It is beyond constitutional question that legislatures may address

problems incrementally and focus their energies where a problem is most pressing.

See Angelotti Chiropractic, Inc. v. Baker, 791 F.3d 1075, 1085–86 (9th Cir. 2015).

          B.    App-Based Transportation Workers Are At Particular Risk Of
                Exploitation Through Misclassification

      By its very language, AB 5 sought to better protect workers who were not

only at risk of misclassification, but for whom misclassification likely meant

economic exploitation. For low-wage workers, misclassification is a barrier to

achieving the basic rights and protections of employees, such as a minimum wage,

overtime, access to paid leave, and a financial safety net during periods of injury,

unemployment, or economic disruption. See AB 5 § 1(e). While independent




4
  Andrew Garin et al., Is Gig Work Changing the Labor Market? Key Lessons from
Tax Data, 75 Nat’l Tax J. 791, 801, 803 (2022) (emphasis added). Non-
transportation tasks, including dog walking and errand running, constitute less than
10% of app-based work and rarely result in significant freelance earnings. Id. at 803
& n.16.

                                           5
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contracting occurs “in all parts of the economy at all income levels,”5 risk of

exploitation is most acute for occupations in the lowest income levels, where

workers are unable to negotiate or finance basic work benefits on their own.6 The

Panel observed that the legislature granted exemptions to “some professions in

which workers have more negotiating power or autonomy than in low-wage jobs . .

. [a]mong them[] lawyers, accountants, architects, dentists, insurance brokers and

engineers,” which shows the legislature’s attention to those most likely to be harmed,

not irrational line-drawing. Opn. 25.

      Indeed, the legislature’s actions plausibly accounted for industry-specific

power dynamics which have made it particularly difficult for app-based

transportation workers to improve their working conditions. See ASJA, 15 F.4th at

965 (finding “market strength and ability to set their own rates” was a rational basis

for classification). App-based transportation is dominated by a small number of




5
  Annette Bernhardt & Sarah Thomason, What Do We Know About Gig Work in
California? An Analysis of Independent Contracting 2, UC Berkeley Ctr. for Lab.
Res. & Educ. (2017), https://perma.cc/6VLG-N3UL.
6
  One national worker survey revealed that 29% of app-based workers earned less
than the applicable state minimum wage. Ben Zipperer et al., National Survey of Gig
Workers Paints a Picture of Poor Working Conditions, Low Pay 5, Econ. Pol’y Inst.
(2022), https://perma.cc/QXF8-NV3J. Another study found that Uber drivers took
home an average of just $9.21 per hour after accounting for fees, expenses,
employer-side taxes, and modest benefits. Lawrence Mishel, Uber and the Labor
Market: Uber Drivers’ Compensation, Wages, and the Scale of Uber and the Gig
Economy 2, Econ. Pol’y Inst. (2018), https://perma.cc/4LD9-7JBP.

                                          6
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national companies.7 See, e.g., DoorDash Inc. v. City & Cty. of San Francisco, No.

21-cv-05502-EMC, 2022 WL 867254, at *22 (N.D. Cal. Mar. 23, 2022) (finding

power of app-based delivery platforms “to set prices in an oligopolistic market” was

a rational basis for classification). Drivers for these companies agree to standardized

form contracts and have no power to negotiate over the terms of their work.8 These

standard agreements typically include arbitration clauses and class action waivers

that bar workers from asserting their rights as independent contractors or employees

through individual or collective litigation.9 Unlike exempt “referral agency”

arrangements in which dog-walkers or errand-runners can shift relatively easily to

direct-hire arrangements (especially for recurring work),10 drivers lack easy exit


7
   See Fed. Trade Comm’n, FTC Policy Statement on Enforcement Related to Gig
Work, https://perma.cc/EFZ4-SCNC (describing the risks of concentrated markets
among app-based platforms). The market is completely dominated by two
companies, with Uber controlling 74%. Catherine Thorbecke, How Uber Left Lyft in
the Dust, CNN (Mar. 29, 2023), https://perma.cc/2SR3-CEGK.
8
    See Uber, Platform Access Agreement (last updated Jan. 1, 2022),
https://perma.cc/K22K-68YU. Because they are classified as independent
contractors, workers have no protected right to bargain collectively with the
companies. In fact, any attempt to do so could be prosecuted under antitrust law. See
Brief for the United States and the Federal Trade Commission as Amici Curiae In
Support of Appellant and in Favor of Reversal, Chamber of Com. v. City of Seattle,
890 F.3d 769 (9th Cir. 2018) (No. 17-35640), 2017 WL 5166667.
9
    Uber, Platform Access Agreement § 13 (last updated Jan. 1, 2022),
https://perma.cc/K22K-68YU; see also Capriole v. Uber Tech. Inc., 7 F.4th 854, 863
(9th Cir. 2021) (holding that Uber drivers do not fall within the interstate commerce
exemption from arbitration under the Federal Arbitration Act).
10
    Uber and other app-based transportation companies experience low levels of
“disintermediation” while app-based referral agencies are far more likely to lose

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options because of the legal regimes regulating for-hire transportation and the app-

based companies’ control of the market.11

      As compared to workers in more traditional independent contracting

arrangements, app-based transportation workers are also uniquely vulnerable to

misclassification and other forms of exploitation because app-based ride-hail and

delivery companies engage in new forms of non-transparent algorithmic control.12

This includes the use of algorithms to determine the base fare and any additional

incentives or bonuses that a driver will earn for a given job, a process that is wholly

opaque and designed to push workers to do more work for less pay.13 By contrast,




workers and customers who choose to directly transact. See Feng Zhu & Marco
Iansiti, Why Some Platforms Thrive and Others Don’t, Harvard Bus. Rev. (Jan.-Feb.
2019), https://perma.cc/VTR3-YM7D. This type of market information underscores
how some of these workforces (but not all) behave more like true independent
contractors.
11
   This includes both longstanding taxi regulations that limit entry to the market and
new regulatory and market dynamics around app-based transportation that make
entry by small firms virtually impossible. See UCLA Inst. for Res. on Lab. & Emp.,
More than a Gig: A Survey of Ride-hailing Drivers in Los Angeles 9–10 (2018),
https://perma.cc/C294-K55P.
12
   Alex Rosenblat, When Your Boss is an Algorithm, N.Y. Times Opinion (Oct. 12,
2018), https://perma.cc/A8DF-M63L.
13
   See id.; Veena Dubal, On Algorithmic Wage Discrimination, Colum. L. Rev.
(forthcoming 2023) (manuscript at 31–33), https://perma.cc/3VT6-SKBV.

                                          8
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workers in “referral agency” arrangements set their own rates and therefore do not

experience these manipulative practices.14

                                              ***

      The legislature’s enacting and amending AB 5 reflect an incremental

approach to addressing the problem of worker misclassification starting with the

area in which independent contracting is rapidly expanding among low-wage

workers via opaque new technology. In the same breath, the legislature chose not to

touch longstanding practices largely impacting higher earners. As a matter of logic

and well-established precedent, such a decision is eminently reasonable. After all,

the “Constitution does not require things which are different in fact or opinion to be

treated in law as though they were the same.” Tigner v. Texas, 310 U.S. 141, 147

(1940). Nor does “the equal protection clause . . . require that a State must choose

between attacking every aspect of a problem or not attacking the problem at all.”

Dandridge v. Williams, 397 U.S. 471, 486–87 (1970) (citation omitted).




14
  Cal. Lab. Code § 2777(a)(10); Keith Cunningham-Parmeter, Gig-Dependence:
Finding the Real Independent Contractors of Platform Work, 39 N. Ill. U.L. Rev.
379, 419 (2019).

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     II.     STATEMENTS BY LEGISLATORS DESCRIBING THEIR INTENT
             TO REGULATE CERTAIN COMPANIES ARE NOT EVIDENCE
             OF “ANIMUS” AND THE PANEL’S DECISION CONFLICTS
             WITH THE WELL-ESTABLISHED MEANING OF THE TERM

           The Panel’s decision departs from controlling precedent on the animus

analysis as well. Potential animus may be considered under rational basis review

only if the legislature lacks any legitimate purpose for the challenged classification,

which undoubtedly is not the case here. See Animal Legal Def. Fund v. Wasden, 878

F.3d 1184, 1200 (9th Cir. 2018). Even if the Panel’s consideration of animus were

proper, plaintiffs are not protected: app-based transportation companies cannot

constitute a “politically unpopular group.” Mountain Water Co. v. Mont. Dep’t of

Pub. Serv. Reg., 919 F.2d 593, 599 (9th Cir. 1990). Not only did the Panel decision

bypass this important threshold issue,15 but the decision stretches the term “animus”

beyond recognition. The Panel held animus to encompass a legislator’s statement of

her desire to pass regulation of a billion-dollar company in response to potential

abuses raised by constituents. Even if such a statement could possibly constitute

animus, a constitutionally dubious proposition, “the remarks of a single legislator,

even the sponsor, are not controlling in analyzing legislative history.” Chrysler

Corp. v. Brown, 441 U.S. 281, 311 (1979).



15
  While the district court specifically determined that plaintiffs were not politically
unpopular, the Panel made no such finding. See Olson v. California, No.
CV1910956DMGRAOX, 2020 WL 905572, at *9 (C.D. Cal. Feb. 10, 2020).

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          A.    Plaintiffs Are Not Politically Unpopular

      Plaintiffs do not resemble the types of groups the Supreme Court or the Ninth

Circuit have found to be politically unpopular, and have demonstrated actual

political strength across the country, including in California. Examples of such

groups include people with developmental disabilities, City of Cleburne v. Cleburne

Living Center, 473 U.S. 432, 446 (1985), LGBTQ people, Lawrence v. Texas, 539

U.S. 558, 580 (2003) (O’Connor, J., concurring); see also Romer v. Evans, 517 U.S.

620, 630 (1996), and hippies, Department of Agriculture v. Moreno, 413 U.S. 528,

534–35 (1973). In these instances, the maligned group exhibited “historic patterns

of disadvantage,” Windsor v. United States, 699 F.3d 169, 180 (2d Cir. 2012), aff’d,

570 U.S. 744 (2013) (internal citation omitted), and the challenged legislation

“single[d] out a vulnerable group whose disadvantage was not of their own making.”

United States v. Wilde, 74 F. Supp. 3d 1092, 1097 n.4 (N.D. Cal. 2014).

      Moreover, this court has routinely declined to find that businesses subject to

government regulation constitute politically unpopular groups. See RUI One Corp.

v. City of Berkeley, 371 F.3d 1137, 1155–56 (9th Cir. 2004) (marina employers);

Mountain Water Co., 919 F.2d at 599 (private utility companies); see also S.F. Taxi

Coal. v. City & Cty. of San Francisco, 979 F.3d 1220, 1225 (9th Cir. 2020) (senior

taxi medallion holders); Allied Concrete & Supply Co. v. Baker, 904 F.3d 1053, 1066

(9th Cir. 2018) (ready-mix concrete suppliers); Int’l Franchise Ass’n v. City of


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Seattle, 803 F.3d 389, 407 (9th Cir. 2015) (franchisees).16 A company is not

politically unpopular for equal protection purposes merely because it is subject to

public critique, particularly where such criticisms stem from that company’s own

choices about how to structure its operations and its relationship to its workforce.

See, e.g., Desoto CAB Co. v. Picker, 228 F. Supp. 3d 950, 958 n.6 (N.D. Cal. 2017),

aff’d, 714 F. App’x 783 (9th Cir. 2018).

      The Panel’s conclusion that Uber could plausibly claim animus is particularly

aberrant given the company’s tremendous success in securing favorable regulation

through unprecedented political spending, lobbying tactics, and direct appeals to

voters, enforcers, and state legislatures.17 Uber has secured passage of bills in 44

states shielding them from local ride-hail and other regulations,18 and the end result

of the company’s political efforts is that app-based transportation companies are


16
   The decision in Merrifield v. Lockyer, 547 F.3d 978, 991–92 (9th Cir. 2008),
which focused on the “irrational singling out” of certain pest controllers, did not
specifically address the question of animus. In subsequent cases, this court has
repeatedly held that Merrifield should be limited to its facts, or at least to cases in
which no legitimate basis exists for the adoption of challenged legislation. See ASJA,
15 F.4th at 965; S.F. Taxi Coal., 979 F.3d at 1225; Allied Concrete & Supply Co.,
904 F.3d at 1065.
17
   See Rebecca Smith et al., Uber State Interference: How TNC’s Buy, Bully, and
Bamboozle Their Way to Deregulation, Nat’l Emp. L. Project (2018),
https://perma.cc/67NZ-BESY; Rick Claypool, Disrupting Democracy: How Uber
Deploys Corporate Power to Overwhelm and Undermine Local Government, Public
Citizen (2016), https://perma.cc/QBQ9-MWJ5.
18
   Jennifer Sherer & Margaret Poydock, Flexible Work Without Exploitation 6, Econ.
Pol’y Inst. (2023), https://perma.cc/DUJ2-A529.

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treated more favorably than similarly situated non-app-based companies.19 See

DeSoto CAB Co., 228 F. Supp. 3d at 959 (unsuccessful claim of animus by taxi

companies).

      The driving concern beneath the court’s scrutiny of government actions

impacting politically unpopular groups is that such groups are powerless to

challenge what they view as unfair or ill-conceived regulation through resort to the

political process. “The Constitution presumes that, absent some reason to infer

antipathy, even improvident decisions will eventually be rectified by the democratic

process.” Vance v. Bradley, 440 U.S. 93, 97 (1979); see also Williamson v. Lee

Optical Co., 348 U.S. 483, 488 (1955) (“For protection against abuses by legislatures

the people must resort to the polls, not to the courts.”). That concern is absent here.

      Uber’s political success specifically on the issue of worker classification in

California is enough to dispel the notion of political powerlessness. In November

2020, Uber, Postmates, and other app-based companies secured the passage of

Proposition 22 after spending a record-setting $204 million (or roughly $20 per vote)

to inundate voters with messaging in support of the initiative.20 See DoorDash, 2022


19
   See UCLA Inst. for Res. on Lab. & Emp., More than a Gig: A Survey of Ride-
hailing Drivers in Los Angeles 9 (2018), https://perma.cc/C294-K55P (finding that
taxis and app-based ride hail “operate under a two-tiered system of regulations [that]
. . . sharply disadvantages taxi drivers and taxi companies, who abide by long-
legislated regulations that are much stricter”).
20
   Ryan Menezes et al., Billions Have Been Spent on California’s Ballot Measure
Battles. But this Year Is Unlike Any Other, L.A. Times, (Nov. 13, 2020),

                                          13
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WL 867254, at *22 (finding that the successful passage of Prop. 22 was evidence

that app-based delivery platforms are not a politically unpopular group). Uber’s

appeals included repeated in-app messages to both riders and drivers urging them to

vote “Yes.”21 Not only did Uber’s campaign tactics infringe on drivers’ political

rights,22 but plaintiffs’ legislative efforts have made it all the more difficult for

drivers to use the political process to rein in abuses in the app-based economy,

whether through Prop. 22’s uniquely onerous amendment process or through

aggressive preemption of local lawmaking. See Castellanos v. California, 305 Cal.

Rptr. 3d 717, 753 (Cal. Ct. App. 2023) (finding that Prop. 22’s amendment provision

unconstitutionally infringed on the powers of the legislature and the judiciary).

          B.    Statements In The Record Are Not Animus

      Nothing cited by the Panel remotely rises to the level of “animus” as it has

been understood by the Ninth Circuit and the Supreme Court—namely, as “irrational

prejudice,” S.F. Taxi Coalition, 979 F.3d at 1224 (citing City of Cleburne, 473 U.S.

at 432), or “corruption, pure spite, or naked favoritism.” ASJA, 15 F.4th at 966.




https://perma.cc/NBY7-4XSP. Uber contributed over $58 million to the campaign
while Postmates contributed over $13 million. Id.
21
   Suhauna Hussain, Uber, Lyft Push Prop. 22 Message Where You Can’t Escape It:
Your Phone, L.A. Times (Oct. 8, 2020), https://perma.cc/28CM-ZLW4.
22
   Complaint, Valdez v. Uber Tech., CGC-20-587266 (Cal. Super. Ct. Oct. 22, 2020)
(alleging that Uber’s in-app political messages targeting drivers violated California
law).

                                         14
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      The Panel’s legal discussion includes just a single statement from a single

legislator, then-Assembly Member Lorena Gonzalez, that she was open to amending

AB 5 but “not for app-based ride-hailing and delivery giants,” a statement that is not

even a direct quote.23 Opn. 26. A factual statement of a legislator’s intent to not

exempt a prominent marketplace actor is not animus. It is not irrational prejudice. It

reflects transparency, principles, and conviction—not to mention good policy. The

remainder of the factual allegations reviewed by the Panel comprise various

statements by three lawmakers that Uber was violating state labor laws by

misclassifying its workers.24 See Opn. 9–10. Perhaps that was debatable as a matter

of politics, policy, or law, but it certainly does not reflect “animus” against Uber.

Moreover, it is hard to conceive of how legislators talk about matters of policy

without, at least at times, discussing particular applications, especially where they

are at the center of public discourse. If the mention of a particular company or

practice in a floor debate or in public statements about a bill can constitute animus,




23
   The statement attributable to the-Assembly Member Gonzalez is paraphrasing by
an L.A. Times reporter. See Margo Roosevelt, New Labor Laws Are Coming to
California. What’s Changing in Your Workplace? L.A. Times (Dec. 29, 2019),
https://perma.cc/QF7H-CQJF.
24
   This is a charge that workers themselves have repeatedly made, including through
litigation and appeals to the legislature. See Veena Dubal, Economic Security & the
Regulation of Gig Work in California: From AB 5 to Proposition 22, 13 Eur. Lab.
L.J. 51, 61–63 (2022).

                                         15
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then the Panel has opened litigation floodgates and imperiled the possibility of robust

legislative discussions across a host of issues.

       Indeed, prior to the Panel’s decision, this court has never found that legislators

exhibit impermissible animus by regulating companies or industries or by publicly

stating their legislative positions and priorities. The legislature’s refusal to bend to

lobbying by Uber while creating exemptions for other industries is entirely within

their legislative purview. As this court recently held, “[a]ccommodating one interest

group is not equivalent to intentionally harming another,” and responsiveness to

some lobbying and not others is not evidence of animus. Gallinger v. Becerra, 898

F.3d 1012, 1021 (9th Cir. 2018); see also Daniel v. Family Sec. Life Ins. Co., 336

U.S. 220, 224 (1949) (“[A] court cannot eliminate measures which do not happen to

suit its tastes if it seeks to maintain a democratic system.”). Uber may have “lost a

political battle in which [it] had a strong interest, but this is neither the first nor the

last time that such a result will occur in the legislative forum.” U.S. R.R. Ret. Bd. v.

Fritz, 449 U.S. 166, 179 (1980).

                                    CONCLUSION

       For all of the foregoing reasons and for the reasons provided by California in

its petition, the request for rehearing should be granted, the decision by the Panel

reversed, and the order of the district court affirmed.




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Dated: May 8, 2023




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           APPENDIX A—LIST OF AMICI CURIAE

                       Public Rights Project

           California Employment Lawyers Association

                   National Black Worker Center

                National Employment Law Project

                       People’s Parity Project

                     Rideshare Drivers United

                             Worksafe




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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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